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              Exhibit E
               to Declaration of Robert Frommer




                                Exhibit E
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                                       #:1812



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      Case 2:21-cv-04405-RGK-MAR Document 112-13 Filed 07/19/22 Page 3 of 6 Page ID
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                                 #:1814


                    ATTACHMENT—USPV SEIZURE WARRANT

 ITEMS TO BE SEIZED


       The items to be seized are the following pieces of business

 equipment located at U.S. PRIVATE VAULTS, INC., 9182 WEST

 OLYMPIC BLVD., BEVERLY HILLS, CA 90212:

            a.    The business computers;

            b.    The money counters;

            c.    The nests of safety deposit boxes and keys.        This
       warrant does not authorize a criminal search or seizure of

       the contents of the safety deposit boxes.        In seizing the

       nests of safety deposit boxes, agents shall follow their

       written inventory policies to protect their agencies and

       the contents of the boxes.      Also in accordance with their

       written policies, agents shall inspect the contents of the

       boxes in an effort to identify their owners in order to

       notify them so that they can claim their property;

            d.    The digital and video surveillance and security
       equipment; and

            e.    The biometric scanners.




                                                          USAO 000137
                                Exhibit E
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    Case 2:21-cv-04405-RGK-MAR Document 112-13 Filed 07/19/22 Page 5 of 6 Page ID
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                   United States District Court                                                                        FILED
                                                                                                              CllRK, U.S. DISTRICT COURT



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                       CENTRAL                         DISTRICT OF _____C=AL=I=F....;O;;...:RN~=I=A'----1   CL'm<ALD!STRICTOFCAUfOIC''IA
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         In the Matter of the Seizure of
(Address or Brief description of property or premises to be                 APPLICATION AND AFFIDAVIT
seized)
                                                                              FOR SEIZURE WARRANT
Certain business equipment located at
U.S. Private Vaults, Inc.,                                           CASE NUMBER:          2:21-MJ-01307
9182 West Olympic Blvd.,
Beverly Hills, CA 90212

I, Lynne Zellhart, being duly sworn depose and say:

I am a Special Agent with the Federal Bureau oflnvestigation and have reason to believe that in the Central
District of California there is now certain property, namely, the business equipment described in the attachment,

which are (state one or more bases for seizure under United States Code)

subject to seizure and forfeiture pursuant to 18 U.S.C. § 982(b), 21 U.S.C. § 853(0 and 31 U.S.C. § 5317(c).

concerning violations of 18 U.S.C. § 1956, 21 U.S.C. § 841, and 31 U.S.C. § 5324, and conspiracy to commit
the same.

The facts to support a finding of Probable Cause for issuance of a Seizure Warrant are as follows:

       (See attached affidavit which is incorporated by reference)


                                                                            Is L!::Jll\Al\h ;z.~
                                                                           Signature of Affiant

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.


 March 17, 2021 at 11 :48 a.m.                                       at   Los Angeles, California
Date and Time Issued


Honorable Steve Kim, U.S. Magistrate Judge
Name and Title of Judicial Officer                                   Signature of Judicial Officer




                                                                                              USAO 000138
AUSA Andrew Brown (xO I 02, l l 1h Floor)                     Exhibit E
                                                                290
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                                 #:1816




                     ATTACHMENT-USPV SEIZURE WARRANT

   ITEMS TO BE SEIZED


        The items to be seized are the following pieces of business

   equipment located at U.S. PRIVATE VAULTS, INC., 9182 WEST

  OLYMPIC BLVD., BEVERLY HILLS, CA 90212:

             a.    The business computers;

             b.    The money counters;

             c.    The nests of safety deposit boxes and keys.      This

        warrant does not authorize a criminal search or seizure of

        the contents of the safety deposit boxes.      In seizing the

        nests of safety deposit boxes, agents shall follow their

        written inventory policies to protect their agencies and

        the contents of the boxes.    Also in accordance with their

        written policies, agents shall inspect the contents of the

        boxes in an effort to identify their owners in order to

        notify them so that they can claim their property;

             d.    The digital and video surveillance and security

        equipment; and

             e.    The biometric scanners.




                                                           USAO 000139
                                Exhibit E
                                  291
